
PER CURIAM.
We agree with appellant’s contention that the appellee’s actions constitute a waiver of its right to arbitration. See, e.g., Seville Condominium, #1, Inc. v. Clearwater Development Corp., 340 So.2d 1243 (Fla. 2d DCA 1977), cert. denied, 348 So. 2d 945 (Fla.1977); Ojus Industries, Inc. v. Mann, 221 So.2d 780 (Fla. 3d DCA 1969).
Accordingly, we reverse the circuit court’s order referring the case for arbitration and abating the action and remand for further proceedings.
SCHEB, A.C.J., and DANAHY and HALL, JJ., concur.
